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 6

 7

 8                                    UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                        CASE NO. 1:16-cr-00176-DAD-BAM &
                                                       CASE NO. 1:12-cr-00028-DAD-BAM
12                       Plaintiff,
                                                       DEFENDANT GARRY SAMPSON’S
13           v.                                        REQUEST FOR A DAY PASS ON
                                                       NOVEMBER 14, 2018 FOR PROGRAM
14    GARRY SAMPSON,                                   INTERVIEW; & ORDER
                                                       THEREON
15                      Defendant.

16

17
                                             BACKGROUND
18
            On November 5, 2018, sentencing in Case #1:12-cr-00028 and Case #1:16-cr-00176 was
19
     continued until December 3, 2018, in order to more thoroughly explore program options for
20
     Defendant Garry Sampson.
21
            The court advised it would authorize a day pass from the Fresno County Jail where Mr.
22
     Sampson is incarcerated in order to travel with a defense investigator to Delancey Street for an
23
     interview with that organization.
24
            The original Order for Release for a Day Pass was for November 12, 2018 at 5:00 AM.
25
     Early Intervention Services advised on Sunday November 11, 2018 that Delancey Street
26
     Foundation would not be able to interview Mr. Sampson until November 14, 2018 due in part to
27
     their staff working the fires in Southern California and also in Northern California making the
28
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 1   interview staff unavailable.

 2          This Request is for a Day Pass Release for WEDNESDAY NOVEMBER 14, 2018.

 3                                          CURRENT STATUS

 4          Defense Counsel spoke with Delancey Street on Tuesday, November 6, 2018. Ira at Intake

 5   confirmed Mr. Sampson would have to go to San Francisco for an interview with the program

 6   administration before acceptance. Admission criteria were discussed as well as the general

 7   Delancey Street Foundation philosophies.

 8          Kathy Grinstead of Early Intervention Services, located at 4486 East Donner Avenue,

 9   Fresno, CA 93726, and whose phone number is (559) 970-8180, met with Mr. Sampson at the

10   Fresno County Jail for a pre-assessment on Saturday, November 10, 2018. Teri Rothschild, her

11   investigator, will transport Mr. Sampson to Delancey Street, located at 600 Embarcadero Street,

12   San Francisco, CA 94107. Delancey Street’s phone number is (415) 957-9800. If the Court

13   agrees, transport will be on WEDNESDAY, NOVEMBER 14, 2018: leaving the Fresno County

14   Jail at 5:00 AM, and returning Mr. Sampson to the Fresno County Jail by close of business

15   NOVEMBER 14, 2018.

16          Ms. Grinstead will contact Delancey Street in advance of Wednesday so the Delancey

17   Street Foundation knows Mr. Sampson will be driving from Fresno to San Francisco on a Day

18   Pass from the Fresno County Jail.

19

20
21                                         CONCLUSION

22          Mr. Gary Sampson, Defendant in Case #1:12-cr-00028 and Case #1:16-cr-00176 requests

23   the Court order him released from the Fresno County Jail for a Day Pass on Wednesday,

24   November 14, 2018 at 5:00 AM to travel with Teri Rothschild, a defense investigator working for

25   Early Intervention Services, to the Delancey Street Foundation in San Francisco for purposes of

26   an interview for suitability for the program.
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 1                                                       Respectfully Submitted,

 2

 3   Dated: November 12, 2018                            /s/ Carol Ann Moses
                                                         CAROL ANN MOSES
 4                                                       Attorney for Defendant,
                                                         GARRY SAMPSON
 5

 6
                                                  ORDER
 7
            GOOD CAUSE APPEARING, the above request for Defendant GARRY SAMPSON to
 8
     be released from the Fresno County Jail on a Day Pass on Wednesday, November 14, 2018, to be
 9
     driven by Teri Rothschild, defense investigator for Early Intervention Services, to San Francisco
10
     for an interview with Delancey Street for the purpose of determining suitability and acceptance
11   into the Delancey Street program, is hereby granted. The following is hereby accepted and
12   adopted as the Order of this Court in Case #1:12-cr-00028 and Case #1:16-cr-00176:
13               1. Mr. Sampson shall be released from the Fresno County Jail to Teri Rothschild on
                    Wednesday, November 14, 2018 at 5:00 AM and transported by Ms. Rothschild to
14
                    Delancey Street located at 600 Embarcadero, San Francisco, CA 94107. (415)
15
                    957-9800.
16
                 2. After the interview with the Delancey Street Foundation, Mr. Sampson will be
17                  returned to the Fresno County Jail by Ms. Rothschild before the close of business
18                  on November 14, 2018.
19
     IT IS SO ORDERED.
20
        Dated:     November 13, 2018
21                                                    UNITED STATES DISTRICT JUDGE
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